                                                                                                                         FILED
1. CIT ATTY                                                                                                  10/6/2021 2:39 PM
                   Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                Page 1 of 22   PageID 11 FELICIA PITRE
                                                                                                              DISTRICT CLEM
                                                                                                           DALLAS CO., TEXAS
                                                                                                         Kayla Buckley DEPUTY


                                                        CAUSE NO. DC-21-14823

              BILLIE JEAN HUFFMAN,                                    IN THE DISTRICT COURT OF
                  Plaintiff
                                                                            44th
              V.
                                                                     DALLAS COUNTY,TEXAS

              WALMART INC.,
                 Defendant.
                                                                      JUDICIAL DISTRICT

                                         PLAINTIFF'S ORIGINAL PETITION

              TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

                      Plaintiff Billie Jean Huffinan, ("Plaintiff") hereby files this Original Petition against

              Defendant Walmart Inc., d/b/a/ Walmart Supercenter #880 ("Defendant" or "Walmart") and

              would show the Court as follows:

                                            I. DISCOVERY CONTROL PLAN

                       1.    Pursuant to Rule 190.2 of the Texas Rules of Civil Procedure, discovery should

              be conducted pursuant to Discovery Control Plan Level 2.

                                                      II. THE PARTIES

                      2.     Plaintiff Bile Jean Huffman is an individual residing in Irving, Texas.

                      3.     Defendant Walmart Inc., d/b/a/ Walmart Supercenter #880 is a Arkansas

              corporation whose principal place of business is located at 702 SW 8th Street #555 Bentonville,

              AR 72716-6299. Defendant may be served by serving process on its registered agent: C T

              Corporation System at 1999 Bryan Street, Suite 900, Dallas, Texas 75201 or at any place where

              such authorized agent may be found.



                                               1.1.1. STATEMENT OF RELIEF




                                                        EXHIBIT C
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       4.      As set forth in more below, Plaintiff alleges claims and cause of action based on

personal injury resulting from a slipped and fell due to a poorly maintained and inappropiately

placed clearning mop and cart on Defendant's premises. Pursuant to Rule 47(c) of the Texas

Rules of Civil Procedure, Plaintiff seeks monetary relief of over $1,000,000.00, including

damages of any kind, penalties, costs, expenses, pre-judgement interest, post-judgment interest,

and attorney's fees. However, Plaintiff reserves the right to amend this petition in the event that

its claim is revealed to be in excess of such amount. Additionally, Plaintiff seeks all further

relief, both general and specific, legal or equitable, to which it may justly be entitled.

                                 IV.JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter because the amount-in-

controversy exceeds the minimum jurisdiction threshold.

       6.      This Court has personal, both general and specific, over the parties because

Defendant is a resident of Texas and/or all or substantial part of the relevant events, acts, and/or

omissions giving rise to the claims and/or causes ofaction set forth herein occurred in Texas.

       7.      Pursuant to Section 15.002 of the Texas Civil Practice and Remedies Code, venue

is proper in Dallas County because all or substantial part of the relevant events, acts, and/or

omissions giving rise to the claims and/or causes of action set forth herein occurred in Dallas

County.

                                   V. FACTUAL BACKGROUND

       8.      This case arises out of Defendant's negligence and failure to maintain its property

safc for its invitees and the improper training of employees. Defendant is the owner of the

property known as Walmart Supercenter #880 Store General located at 4100 W Airport Freeway,

Irving, TX 75062 - where the incident took place.

                                                  2
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       9.      Defendant had the right to control maintain the premises in proper and good

condition. Defendant had the duty to make repairs, alterations, and replacements to the premises

for the continued safe opeiation of the premises. Additionally, Defendant had the responsibility

to require that all store employees learn and be in compliance with the store's general safety

procedures.

        10.    Here, Defendant was negligent in performing its duty to maintain the store

premises for the continued safe and orderly operation of the store and its employees failed to

follow safety procedures. Therefore, Defendant was negligent in these duties of operations and

increased thc probability and severity of any injuries to its invitees.

        11.    On or about September 22, 2021, Plaintiff was shopping in Defendant's store.

Plaintiff was injured when the instructed she was in the bagging area by the cashier. After

Plaintiff attempted to retrieve her bag she slipped and fell on a mop and cart that were placed

hazardously next to her. Plaintiff fell and hurt her legs as they bent beneath her. As a result,

Plaintiffinjured her back, knees, and hips.

        12.    After the incident, Plaintiff immediately reported the incident to a store employee

and Plaintiff was transported to the Emergency Room. Plaintiff has been seeking medical

treatment and has been in pain and suffering.

        13.    Plaintiff asserts that the Defendant's negligent failure to properly maintain and

train the employees on its premises, resulted in improperly the hazardous placement of cleaning

items on the store floor where patrons frequented.

        14.    Plaintiff asserts that the Defendant was responsible for providing a safe

environment and/or area for the Plaintiff, as an invitee at the time of the incident and that the



                                                  3
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Defendant and its employees/agents, were responsible for creating an unreasonably dangerous

condition to invitees, including Plaintiff.

       15.     Accordingly, Defendant's agents and employees, were aware, or reasonably

should have been aware, that an unreasonably dangerous condition existed and/or could have

existed due to Defendant's negligent conduct, yet made no efforts were made to reduce or

eliminate the unreasonably dangerous condition, nor did they warn Plaintiff about the dangerous

condition.

       16.     As a result of Plaintiff's incident described herein, Plaintiff sustained serious and

permanent personal injuries and damages.

                                      VI.CAUSES OF ACTION

   A. NEGLIGENCE (AGAINST DEFENDANT)
       17.     All preceding paragraphs are incorporated herein as iffully set forth.

       18.     Plaintiff specifically alleges that upon the occasion in question, Defendant failed

to use ordinary care by various acts and omissions in at least one or more of the following ways:

               a.      Failure to keep their premises reasonably safe for their customers;

               b.      Failure to reasonably and regularly inspect the premises for unreasonably
                       dangerous conditions;

               c.      Failure to ensure that their employees reduce or eliminate any
                       unreasonably dangerous conditions;

               d.      Failure to maintain and enforce policies for inspecting the premises for
                       unreasonably dangerous conditions;

               e.      Permitting a dangerous condition, of which Defendants should have
                       reasonably been aware,to exist for an unreasonable period oftime;

               f.      Failure to provide adequate warning to Plaintiff of all unreasonably
                       dangerous conditions of which the Defendants had actual or constructive
                       knowledge;


                                                4
   Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                 Page 5 of 22 PageID 15



               g.     Failure to recruit, select, and hire competent employees capable of
                      locating, preventing, reducing, eliminating, and warning about
                      unreasonably dangerous conditions;

               h.     Failure to adequately train their employees in locating, preventing,
                      reducing, eliminating, and warning about unreasonably dangerous
                      conditions;

                      Failure to adequately supervise their employees to ensure they are
                      locating, preventing, reducing, eliminating, and warning about
                      unreasonably dangerous conditions;

               J.     Vailure to terminate employee's incapable of locating, preventing,
                      reducing, eliminating, and warning about unreasonably dangerous
                      conditions; and

               k.     Failure to provide proper maintenance to the store shelves/racks to prevent
                      unreasonably dangerous conditions.


        19.    Each and all of the above stated acts and/or omissions, taken together or

individually, constitute negligence and the same are a direct and proximate cause of the injuries

and damages sustained by Plaintiff.

    B. NEGLIGENCE OF THE DEFENDANT'S EMPLOYEES

        20.    Plaintiff alleges that upon the occasion in question, the Defendant's employees

failed to use ordinary care by various acts and omissions in at least one or more of the following

ways:

               a.     Failure to keep the premises reasonably safe for its customers;

               b.     Failure to eliminate any unreasonably dangerous conditions;

               c.     Causing an unreasonably dangerous condition;

               d.     Failure to give adequate warning to Plaintiff of all unreasonably dangerous
                      conditions of which the employees had actual or constructive knowledge.

               e.     Failure to properly supervise and train employees to be in compliance with
                      safety procedures, whereas, the lack of training caused a dangerous
                      condition on the premises where numerous customers were.
                                                5
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       21.    Each and all of the above stated acts and/or omissions, taken together or

individually, constitute negligence and the same are a direct and proximate cause of the injuries

and damages sustained by Plaintiff

   C. NEGLIGENCE — PREMISES LIABILITY

       22.    Pleading in the alternative, Plaintiff would show that she was an invitee on

Defendant's premises. Defendant had actual or constructive knowledge of the condition on the

premises in question. The condition posed an unreasonable risk of harm to Plaintiff. Defendant

did not exercise reasonable care to reduce or eliminate the risk and the Defendant's failure to

exercise such care proximately caused Plaintiffs injuries.

       23.    Defendant's negligence and failure to use ordinary care was the direct and

proximate cause of the incident in question and of Plaintiffs damages and personal injuries.

Defendant was guilty of the following acts of negligence and common law negligence, each of

which was the direct and proximate cause ofPlaintiffs injuries and damages, to-wit:


               a.     Failing to maintain a safe property;

              b.      Failing to make sure that the store shelves/racks were secure and properly
                      maintained in order to prevent catastrophe;

              c.      Failing to maintain a property free from unnecessary hazards;

              d.      Failing to properly supervise the operation ofits facility;

              e.      Failing to warn Plaintiff and the public of an unreasonably dangerous
                      condition;

              f.      Failing to provide proper maintenance to the shelves/racks to prevent
                      unreasonably dangerous conditions.

               g.     Failing to properly inspect the grounds to prevent injuries, which
                      Defendants knew or should have known of, yet failed to take affirmative
                      steps to remove, reduce and/or warn others ofsame; and

              h.      Other acts deemed negligent.
                                              6
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         24.   Because of the foreseeability of injury to Plaintiff and the public was so apparent,

yet utterly disregarded by Defendant, Defendant is liable to Plaintiff for Negligence, Malice

and/or gross negligence and same was a proximate cause of the occurrence in question and/or of

Plaintiff's damages.

    D,         NEGLIGENT HIRING.SUPERVISION,'TRAINING,AND RETENTION

         25.   Plaintiff re-alleges and incorporates herein by reference as though fully set forth

each and every allegation containing in Paragraphs 1 through 16 of this Petition.

         26.   As an invitee of the store, Defendant owed a duty to Plaintiff to hire, supervise,

train, and retain its employees.

         27.   Defendant breached that duty by failing to adequately hire, train, supervise

competent employees to staff and maintain the premises in a safe fashion.

         28.   Defendant's breach was a proximate cause of the injuries sustained by Plaintiff

while she was an invitee at the Defendant's Walmatt Supercenter Store #880 on September 22,

2021.

   E.          GROSS NEGLIGENCE

         29.   Plaintiff re-alleges and incorporates herein by reference as though fully set forth

each and every allegation containing in Paragraphs 1 through 16 of this Petition.

         30.   Plaiutifrs injuries resulted from Defendant's gross negligence, which entitles

Plaintiff to exemplary damages. Defendant's conduct as exhibited by Defendant's employees,

when viewed objectively from Defendant's standpoint at the time of this incident and with the

knowledge that it had regarding the importance of maintaining all equipment securly, involved

an extreme degree of risk, considering the probability and magnitude of the potential harm to

Plaintiff and others.
                                                7
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       31.     Defendant had actual, subjective awareness ofthe risk to Plaintiff, but failed to fix

and/or remedy the cleaning supplies in the store and proceeded in improperly allowing

employees to place clearning supplies in a dangerous fashion by having numerous items out thus

exhibiting a gross negligenCe towards the safety and welfare ofPlaintiff and other invitees.

   F. RESPONDEAT SUPERIOR

       32.     At all relevant times herein, all of the agents, servants, or employees of

Defendants who were in any way connected to this suit were acting within the course and scope

of their employment or official duties and in furtherance of the duties of their office or

employment. Therefore, the acts or omissions of those agents, servants, or employees are

attributable to Defendant and renders Defendant liable for all damages suffered by Plaintiff

under th.e doctrine ofrespondeat superior:

                                            VII.   DAMAGES

       33.     As a result of the incident described above, Plaintiff seeks damages including, but

not necessarily limited to the following:

               a      Medical expenses incurred in the past;

               b.      Medical expenses likely to be incurred in the future;

               c.     Physical pain and suffering sustained in the past;

               d.     Physical pain and suffering likely to be sustained in the future;

               e,      Mental anguish sustained in the put;

               f.      Mental anguish likely to be sustained in the future;

               g.     Physical impairment sustained in the past;

               h.     Physical impairment likely to be sustained in the future;

                      Prejudgment interest;
   Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                   Page 9 of 22 PageID 19



                   j.   Postjudgment interest;

                   k.   Costs ofcourt;

                   1.   Loss of Earnings; and

                   m.   All such other and further relief, special or general, legal or equitable, to
                        which Plaintiff may show herself to be justly entitled.

                                           VIII. PRAYER

        WHEREFORE,PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear and answer herein and, upon final hearing of this cause, Plaintiff has judgment against

Defendants for damages described herein, for costs of suit, pre-judgment and post-judgment

interest at the maximum legal rates. Plaintiff also prays for actual and exemplary and punitive

damages in an amount that exceeds the minimum jurisdictional limits of the Court, and for all

further relief; special or general, legal or equitable, to which Plaintiff may show herself to be

justly entitled.

Dated: October 6,2021.
                                                      Respectfully submitted,

                                                      BUSH & BUSH LAW GROUP


                                                      Charles Bush
                                                      Texas Bar No.24096028
                                                      Email: cbush@bushlawgrp.com
                                                      Cynthia Castanon
                                                      Texas Bar No. 24093492
                                                      Email: ccastanonbushlawgrp.com
                                                      3710 Rawlins Street, Suite 1420
                                                      Dallas, Texas 75219
                                                      Telephone:(214)615-6394
                                                      Facsimile:(833)817-6428
                                                      E-service only: service bushlawgrp.com
                                                      Attorneys for Plaintiff Billie J Huffman




                                                  9
     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21          Page 10 of 22 PageID 20

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.
Cynthia Castanon on behalf of Cynthia Castanon
Bar No. 24093492
ccastanon@bushlawgrp.com
Envelope ID: 57939853
Status as of 10/11/2021 9:13 AM CST
Case Contacts

 Name                  BarNumber Email                .    TimestampSubmitted Status
Andrew Y09                       ajackson@bushlawgrp.com   10/6/2021 2:39:14 PM   GENT
Charles JonathanBush             cbush@bushlawgrp.com      10/6/2021 2:39:14 PM   SENT
Charles Bush                     service@bushlawgrp.com    10/6/2021 2:39:14 PM   SENT
Cynthia Castanon                 ccastanon@bushlawgrp.com 10/6/2021 2:39:14 PM    SENT
Rhonda Herbert                   rherbert@bushlawgrp.com   10/6/2021 2:39:14 PM   SENT
Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                                                      Page 11 of 22 PageID 21
                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     10/15/2021
                                                                                                     CT Log Number 540425567
 TO:         Kim Lundy- Email
             Walmart Inc.
             702 SW 8TH ST
             BENTONVILLE, AR 72716-6209

 RE:         Process Served in Texas

 FOR:        WALMART INC. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                  Re: HUFFMAN BILLIE JEAN // To: WALMART INC.
 DOCUMENT(S) SERVED:                               Citation(s), Return(s), Petition, Certificate(s)
 COURT/AGENCY:                                     44th Judicial District Court Dallas County, TX
                                                   Case # DC2114823
 NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 09/22/2021, Walmart Supercenter #880 located
                                                   at 4100 W Airport Freeway, Irving, TX, 75062
 ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
 DATE AND HOUR OF SERVICE:                         By Process Server on 10/15/2021 at 02:50
 JURISDICTION SERVED :                             Texas
 APPEARANCE OR ANSWER DUE:                         By 10:00 a.m. on the Monday next following the expiration of 20 days after service
 ATTORNEY(S) / SENDER(S):                          Charles J. Bush
                                                   Bush & Bush Law Group
                                                   3710 Rawlins Street, Suite 1420
                                                   Dallas, TX 75219
                                                   214-615-6394
 ACTION ITEMS:                                     CT has retained the current log, Retain Date: 10/15/2021, Expected Purge Date:
                                                   10/20/2021

                                                   Image SOP

 REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                   1999 Bryan Street
                                                   Suite 900
                                                   Dallas, TX 75201
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




                                                                                                     Page 1 of 1 / JD
          Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21      Page 12 of 22 PageID 22

                                                                         Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Fri, Oct 15, 2021

Server Name:                  Gean Smith




Entity Served                 WALMART INC.

Case Number                   DC-21-14823

J urisdiction                 TX




  1 1 1111111111111111111111111 1 1 1111111111111111111111111
                     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                         Page 13 of 22 PageID 23


FORM NO. 353-3 - CITATION                                                                                                           ATTY
THE STATE OF TEXAS
                                                                                                                                CITATION

To:     WALMART INC.d/b/a WALMART SUPERCENTER 08800
        BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                      DC-21-14823
        1999 BRYAN ST STE 900
        DALLAS TX 75201
                                                                                                                            BILLIE JEAN HUFFMAN
GREETINGS:                                                                                                                            Vs.
You have been sued. You may employ an attorney.- If you or your attorney do not file a written                                  WALMART INC
Answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration oftwenty days after you were served this citation and petition, a defaultjudgment may be taken
against you. In addition to filing a written answer with the clerk, you may be required to make initial                       ISSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days           13th Jay ofOctober,2021
after you He your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be
addressed to the cerk ofthe 44th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                              FELICIA PITRE
Said Plaintiff being BILLIE JEAN HUFFMAN                                                                                    Clerk District Courts,
                                                                                                                            Dallas County, Texas
Filed in said Court 6th day of October,2021 against

WALMART INC.dib/a WALMART SUPERCENTER #8800                                                                         By: CARLENIA BOULIGNY,Deputy

For Suit, said suit being numbered DC-21-148231 the nature of which demand is as follows:                                Attorney for Plaintiff
Suit on PROPERTY etc. as shown on said petition, a copy of which accc-mpanies this citation. Ifthis                        CHARLES BUSH
citation is not served, it shall be returned unexecuted.                                                              BUSH 8: BUSH LAW GROUP
                                                                                                                      3110 RAWLINS ST STE 1420
WITNESS: FELICIA PITRE,Clerk ofthe District Courts of Dallas, County Texas.                                               DALLAS TX 75219
Given under my hand and the Seal of said Court at office this 13 y,f.4:74Lo,ber,
                                                                   !             2021.                                       214-615-6394
                                                                                                                       3erviee@busblawgrp.com
ATTEST: FELICIA PITRE,Clerk olthe District Courts of               County,P     '
                                                                     4.         0                                   DALLAS CO
                                                                                                                       FEES              FEES RIOT ,
                                               4/3                              .."qc                                  PAM
                         By
                               CARLENIA BOULIGNY

                                                                                         Rec'd Date /1045            Rec'd Time
                                                                                         Service To
                                                                                         Date                   s
                                                                                                         ç..         Time      az 9
                                                                                         Gean 0. Smith PSC-4683
                                                                                         Sig.
                   Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                           Page 14 of 22 PageID 24


                                                         OFFICER'S RETURN
Case NO.
Court No,44ttt District Cour.
Style:. BILLIE JEAN HUFFMAN
 Vs.
WALMARTThIC


Came to hand on the                       day of                         ., 20          ,at               O'clock.             .M. Executed at
                                     , within the County of                                     at                   o'clock         .M. en the
                   day of                                                        ,20                    ,by delivering to the within named



Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having fiist endorsed or,same date of delivery.
The distance actually traveled by .me in serving such process was                miles and my fees are as follows: To certify which witness my hand.
                   For serving Citation     I
                   For Mileage                                      of                           County,
                   For Notary                                        by                                                        Deputy
                                             •(Mtist be verified if served outside the State of Texas.)
Signed and sworn to by the said                                     before me this             day of                              ,20
To certify which witness my hand and seal ofoffice.


                                                                            Notary Public                                         County
     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                  Page 15 of 22 PageID 25




                                           CAUSE NO. DC-21-14823

BILLIE JEAN HUFFMAN,                                    §                IN THE DISTRICT COURT

         Plaintiff(s),                                  g


v.                                                      g               DALLAS COUNTY, TEXAS

WALMART INC.,            .
                                                        g
                                                                   I




         Defendant(s).                                  g               44TH fIU DICIAL DISTRICT

                                      STATUS CONFERENCE ORDER


         Please be advised that the above-referenced matter is hereby set for a status

conference/dismissal hearing at:

         9:00 a.m. on November 19, 2021

         Failure to appear at this hearing may result in the dismissal of this matter for want of

prosecution pursuant to Texas Rules of Civil Procedure 165a and the Court’s inherent power.

         Signed this     12th   day of October, 2021.


                                                        dZAQWm’
                                                    JUDGE PRESIDINQ’     _
                                                                                                                                                                FILED
                                                                                                                                                   10/25/2021 19.14 AM
                                                                                                                                                      FELICIA PITRE
                     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                        Page 16 of 22 PageID 26                               DISTRICT CLERK
                                                                                                                                               DALLAS 00., TEXAS
                                                                                                                                              Daniel Macias DEPUTY


FORM NO.           353—3   - CITATION                                                                                             ATTY
THE STATE OF TEXAS
                                                                                                                               CITATION
 To:     WALMART INC. dlb/a WALMART SUPERCENTER #8800
         BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                    DC—21-14823
         1999 BRYAN ST STE 900
         DALLAS TX 75201
                                                                                                                      BILLIE JEAN HUFFMAN
GREETINGS:                                                                                                                           Vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                 WALMART INC
Answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next
                                                                                        following the
expiration of twenty days after you were served this citation and petition, a defaultjudgment may be taken
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial                       lSSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
                                                                                                         days
                                                                                                                    13th day    of October, 2021
aﬁer you ﬁle your answer with the clerk. Find out more at
                                                               TexasLawHelp.org. Your answer should be
addressed to the clerk of the 44th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                            FELICIA PITRE
Said Plaintiff being BILLIE JEAN HUFFMAN                                                                                  Clerk District Courts,
                                                                                                                          Dallas County, Texas
Filed in said Court 6th day of October, 2021 against

WALMART INC. d/b/a WALMART SUPERCENTER #8800                                                                    By: CARLENIA BOULIGNY, Deputy

For Suit, said suit being numbered DC—21-14823, the nature of which demand is as follows:                             Attorney for Plaintiff
Suit on PROPERTY etc. as shown on said petition, a copy of which accompanies this citation. If this                   CHARLES BUSH
citation is not served, it shall be returned unexecuted.                                                          BUSH & BUSH LAW GROUP
                                                                                                                   3710   RAWLlNS ST STE 1420
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                             DALLAS TX 752l9
Given under my hand and the Seal of said Court at ofﬁce this 13 er,          2021.                                           2l4—515—6394
                                                                      ,                                             service@bushlawgrp.com
ATTEST: FELICIA PITRE. Clerk of the District Courts of        .
                                                                  :

                                                                                                                DALLAS CO
                         “new
                                                                  gfrtounty,
                                                                                                                   FEES                FEES NOT
                                                                               u—i‘yﬁﬂ'                            PAID                    PAID
                               CARLENIA BOULIGNY‘
                     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                              Page 17 of 22 PageID 27


                                                              OFFICER'S RETURN
Case No.   :   DC-Zl-l4823
Court No.44th District Court
Style:   BlLLiE JEAN HUFFMAN
Vs.
WALMART INC

Came to hand on the                         day of                            , 20          , at                 o'clock             .M. Executed at
                                      ,   within the County of                                      at                     o'clock            .M. on the

                     day of                                                          , 20                      , by delivering to the within named




Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery.
The distance actually traveled by me in serving such process was            miles and my fees are as follows: To certify which witness my hand.
                     For serving Citation      $
                     For mileage              $                         of                           County,
                     For Notary                $                         by                                                          Deputy
                                                   (Must be veriﬁed if served outside the State of Texas.)
Signed and sworn to by the said                                        before me this               day   of                              , 20             ,
To certify which witness my hand and seal of office.


                                                                                Notary Public                                           County
            L     Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                                      Page 18 of 22 PageID 28
                                            AFFIDAVIT 0F SERVICE

                                                                  CAUSE NO: DC-21-14823

   BILLIE JEAN HUFFMAN,
                Plaintiff,
                                                                                                            IN   THE DISTRICT COURT

  Vs.
                                                                                                           44‘“ JUDICIAL DISTRICT
  WALMART, INC.,
             Defendant,
                                                                                                           DALLAS COUNTY, TEXAS



  Documents: CITATION AND PLAINTIFF’S ORIGI
                                            NAL PETITION

  I,   Gean O. Smith, received the above documents on:
                                                                     ocmBER 1g, 2021          at          §:Qg     P.M. to be delivered to:

 WALMART, INC., dlbla WALMART SUPERCENTER
 REGISTERD AGENT, CT CORPORATION SYSTEM #8800
 1999 BRYAN STREET, SUITE 900
 DALLAS, TEXAS 75201

  l,      GEAN O. SMITH
                                                          , the undersigned, being duly sworn,
 under Rule 103 and 536(a) to make                                                             depose and say, that I am duly authorized
                                       delivery of the document(s) listed herein in the above
 not a party to or otherwise interested in this matter                                        styled case. l am over the age of 18, and am
                                                      . Delivery of said documents occurred in the
                                                                                                   following manner:
 By delivering to: WALMART, lNC., d/bla WALMART SUPERCENTER
 female, age 40. 5’6” tall, 150 Ib§. brown hair             #8800, BY AND THROUGH TERRI THONGSAVAT
                                                                                                   (white

 (Title I Relationship):INTAKE ASSOCIATE FOR REGISTERED AGENT CT CORP
                                                                           ORATION SYSTEM
Address of Service:    1999 BRYAN STREET, SUITE 900,
                                                     DALLAS, TEXAS 75201, {DALLAS COUNTY. TEXA§i
Date of Service:    OCTOBER 15. 2021        Time of Service:        12:45 PM.
     of
Type Service:

       D PERSONAL SERVICE:             and personally
                                      Individually          above named  to the              recipient.

       D SUBSaddre
             TITUTE SERVICE: By leaving a
            listed ss,       which is the usual
                                    place of abode
                                                          true
                                              copy of said process      a
                                                                      or dwelling
                                                               house of
                                                                                    with     person therein. who is of suitable age, at the above
                                                                                           the above named person.
            CORP ORATION I PARTNERSHIP: By deliver
                                                          ing a true copy of said process to an ofﬁcer, registe
            anyone available to accept service for the above named                                              red agent, partner or
                                                                     entity whose name and title is listed above.

       D    POSTING   WITH COURT ORDER: By postin a true
           date of service endorsed thereon
                                                         g        copy of said process along with a true copy of the Court Order with the
                                             by me, to the front entrance of the above listed address of
           of abode or dwelling house of the above named                                                 service, which is the usual place
                                                            person, in compliance with state statues and per Rule 106 Order.


                       “I declare under penalties of
                                                     perjury that the information contained herein is true and correct"

        Mo-M‘
Signature
                                                                                            Subscribe
cam o. sun-m                   PSC#     4683
                                                                                                           nd sworn to b fore me, a notary
Authorized Person                                                                           public on       m 3m 7                 ,   20 at
                               Exp: 01/3112022                                                               K




                                        Nd         SHIRLEY NELL MCCLELLAN                   Notary Publi in and for State of TeXas
                                             9';      Notary ID #6985122
                                           V' ,1    My Ccmmissicn Expires
                                                     Seats-mice: 7.1, 2025
       Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21          Page 19 of 22 PageID 29
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Smaranda Hobbs on behalf of Cynthia Castanon
Bar No. 24093492
shobbs@bushlawgrp.com
Envelope ID: 58489028
Status as of 10/26/2021 10:58 AM CST

Case Contacts

Name                   BarNumber   Email                      TimestampSubmitted       Status
Andrew Yoo                         ajackson@bushlawgrp.com    10/25/2021 10:14:29 AM   SENT
Charles Bush                       service@bushlawgrp.com     10/25/2021 10:14:29 AM   SENT
Cynthia Castanon                   ccastanon@bushlawgrp.com   10/25/2021 10:14:29 AM   SENT
Charles JonathanBush               cbush@bushlawgrp.com       10/25/2021 10:14:29 AM   SENT
Smaranda Hobbs                     shobbs@bushlawgrp.com      10/25/2021 10:14:29 AM   SENT
                                                                                                                  FILED
                                                                                                      11/4/2021 9:54 AM
                                                                                                         FELICIA PITRE
  Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21                  Page 20 of 22 PageID         30 DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                                  Lafonda Sims DEPUTY


                                     CAUSE NO. DC-21-14823

 BILLIE JEAN HUFFMAN                                  §          IN THE DISTRICT COURT
                                                      §
                                                      §
 VS.                                                  §          DALLAS COUNTY, TEXAS
                                                      §
 WALMART INC. d/b/a                                   §
 WALMART SUPERCENTER #880                             §          44TH JUDICIAL DISTRICT

                            DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Walmart Inc. formerly known as Wal-Mart Stores, Inc. (incorrectly sued,

proper entity is Wal-Mart Stores Texas, LLC), Defendant in the above-entitled and numbered

cause, and files its Original Answer to Plaintiff’s Original Petition, and would respectfully show

the Court as follows:

                                        I. GENERAL DENIAL

         Defendant generally denies the allegations contained in Plaintiff’s Original Petition,

demands strict proof thereof, and says this is a matter for jury decision.

                                       II. RULE 193.7 NOTICE

         Pursuant to TEXAS RULES OF CIVIL PROCEDURE 193.7, Defendant provides notice that it

intends to use Plaintiff’s production of all documents, tangible things and discovery items

produced in response to discovery in any pre-trial proceeding or at trial.

                                         III. JURY DEMAND

         Defendant further demands a trial by jury.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final hearing

hereof, Plaintiff take nothing by this suit, that Defendant recover its costs, and that Defendant have

such other and further relief, both at law and in equity, to which it may be justly entitled.




DEFENDANT’S ORIGINAL ANSWER                                                                     PAGE 1
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                                                 Respectfully submitted,

                                                 COBB MARTINEZ WOODWARD PLLC
                                                 1700 Pacific Avenue, Suite 3100
                                                 Dallas, TX 75201
                                                 (214) 220-5210 (direct phone)
                                                 (214) 220-5260 (direct fax)


                                                 By:         /s/ Stacy Hoffman Bruce
                                                        STACY HOFFMAN BRUCE
                                                        Texas Bar No. 24036793
                                                        sbruce@cobbmartinez.com
                                                        BEVAN RHINE
                                                        Texas Bar No. 24036265
                                                        brhine@cobbmartinez.com

                                                 ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        I certify a true and correct copy of this document has been forwarded to counsel for Plaintiff
either by e-service, telefax, electronic mail, and/or regular U.S. mail on this 4th day of November,
2021:

         Charles Bush
         Cynthia Castanon
         Bush & Bush Law Group
         3710 Rawlins Street, Suite 1420
         Dallas, TX 75219
         214.615.6394 / fax 833.817.6428
         cbush@bushlawgrp.com
         ccastanon@bushlawgrp.com
         service@bushlawgrp.com

                                                    /s/ Stacy Hoffman Bruce
                                                 STACY HOFFMAN BRUCE
                                                 BEVAN RHINE




DEFENDANT’S ORIGINAL ANSWER                                                                    PAGE 2
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       Case 3:21-cv-02799-S Document 1-3 Filed 11/10/21         Page 22 of 22 PageID 32
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Sandi Mallon on behalf of Stacy Bruce
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Status as of 11/5/2021 1:30 PM CST

Case Contacts

Name                   BarNumber   Email                      TimestampSubmitted     Status

Charles JonathanBush               cbush@bushlawgrp.com       11/4/2021 9:54:52 AM   SENT

Rhonda Herbert                     rherbert@bushlawgrp.com    11/4/2021 9:54:52 AM   SENT

Cynthia Castanon                   ccastanon@bushlawgrp.com   11/4/2021 9:54:52 AM   SENT

Charles Bush                       service@bushlawgrp.com     11/4/2021 9:54:52 AM   SENT

Andrew Yoo                         ajackson@bushlawgrp.com    11/4/2021 9:54:52 AM   SENT

Smaranda Hobbs                     shobbs@bushlawgrp.com      11/4/2021 9:54:52 AM   SENT

Bevan Rhine                        brhine@cobbmartinez.com    11/4/2021 9:54:52 AM   SENT

Missy Ramirez                      mramirez@cobbmartinez.com 11/4/2021 9:54:52 AM    SENT

Sandi Mallon                       smallon@cobbmartinez.com   11/4/2021 9:54:52 AM   SENT

Stacy H.Bruce                      sbruce@cobbmartinez.com    11/4/2021 9:54:52 AM   SENT
